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                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

ACKERMAN MCQUEEN, INC.                  §
                                        §
        Plaintiff,                      §
                                        §
v.                                      §   CIVIL ACTION NO. 3:19-CV-03016-X
                                        §
GRANT STINCHFIELD,                      §
                                        §
        Defendant.                      §
                                        §


        DEFENDANT’S BRIEF IN SUPPORT OF HIS 12(c) MOTION TO DISMISS
                   PLAINTIFF’S CLAIMS WITH PREJUDICE

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       Defendant Grant Stinchfield (“Stinchfield” or “Defendant”) files this brief in support of

his 12(c) motion to dismiss Plaintiff’s Ackerman McQueen, Inc, (“AMc” or “Plaintiff”) claims

against him with prejudice.

                                    I.PRELIMINARY STATEMENT

       Stinchfield is a four-time Emmy award-winning journalist who for decades has reported

on controversial issues that earned him the respect of his audience and his peers. In fact, throughout

decades of journaling, he has never been sued—until now.

       In 2019, a dispute arose between the National Rifle Association (“the NRA”) and AMc

over the digital platform: NRA TV.1 Stinchfield—a former employee at AMc—witnessed AMc’s

conduct and wrote an affidavit which he supplied to the NRA. His affidavit explained what he

observed regarding the distorted NRA TV analytics that were presented to the NRA and AMc’s

sudden critique of NRA programs like School Shield and Carry Guard. The NRA served

Stinchfield’s affidavit in connection with its Second Set of Requests for Admissions on December

12, 2019.

       Apparently unhappy with what Stinchfield stated under oath, AMc filed this lawsuit against

Stinchfield for defamation and business disparagement. However, this lawsuit is barred because

Stinchfield’s affidavit is protected by litigation privilege. Thus, AMc’s claims against Stinchfield

should be dismissed with prejudice.

                                          II.LEGAL STANDARD

       Under Rule 12(c), a party may move for judgment on the pleadings, “[a]fter the pleadings

are closed–but early enough not to delay trial.2 A Rule 12(c) motion “is designed to dispose of



       1
           National Rifle Association v. Ackerman McQueen, Inc. et, al., Case No. 3:19-cv-02074-G.
       2
           Fed.R.Civ.P. 12(c).

                                                        1
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cases where the material facts are not in dispute and a judgment on the merits can be rendered by

looking to the substance of the pleadings and any judicially noticed facts.”3 A claim may be

dismissed pursuant to Rule 12(c) if successful affirmative defense appears on the face of the

pleadings. “Even if [a party] fails to plead the elements of an affirmative defense, judgment on

the pleadings under Rule 12(c) is appropriate if judicially noticeable facts and materials, in

conjunction with the plaintiff's pleadings, establish a successful affirmative defense.”4

         Under Texas law, publications made in the course of judicial and quasi-judicial

proceedings are absolutely privileged.5 The scope of the absolute privilege extends to all

statements made in the course of the proceeding, whether made by the judges, jurors, counsel,

counsel, parties, or witnesses, and attaches to all aspects of the proceeding, including statements

made in open court, hearings, depositions, affidavits, and any pleadings or other papers in the

case.6

                                        III.FACTUAL BACKGROUND

A.       NRA TV’s Viewership Numbers Aren’t As AMc Claims.

         During the three years of NRA TV’s existence, there were thirteen meetings that occurred

between AMc and the NRA to discuss NRA TV’s viewership analytics.7 In each meeting AMc

assured the NRA that the numbers were growing, and the platform was a huge success.8 After a

thirty-year partnership between the two companies, the NRA believed AMc and increased NRA



         3
             Great Plains Trust Co. v. Morgan Stanley Dean Witter & Co., 313 F.3d 305, 312 (5th Cir. 2002)
         4
             Hebert Abstract Co. v. Touchstone Props., Ltd., 914 F.2d 74, 76 (5th Cir. 1990).
         5
             Charalmbopoulos v Grammer, No. 3:14–CV–2424–D, WL 2451182 *3 (N.D.Tex. 2015).
         6
             Id.
         7
            Ex. A. See NRA’s First Amended complaint ¶ 28. National Rifle Association v. Ackerman McQueen, Inc.
et, al., Case No. 3:19-cv-02074-G.
         8
             Id. at ¶¶ 28-29.

                                                            2
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TV’s annual budget each year at the request of AMc.9 But the numbers that were presented to the

NRA were misleading.10 They were not as great as AMc had led on.11 They didn’t tell the whole

story.12

           Stinchfield became aware of the distorted viewership numbers.13 As he observed NRA

TV’s viewership analytics including the analytics on his own show, he noticed that his live

viewership numbers were extremely low, and the NRA was not aware of this.14 Instead the NRA

was being presented viewership numbers in the high tens of millions.15

B.         “I Believe These Metrics Were Distorted And Did Not Tell The Whole Story Of How
           Few Actual Live Views We Had.”

           In 2019, the NRA became aware of AMc’s faulty billing and NRA TV’s overachieving

viewership numbers.16 And in the summer of 2019, the NRA shut NRA TV down. 17

           The NRA filed lawsuits—one in Texas and one in Virginia—against AMc for misleading

them into believing that NRA TV was a success when it wasn’t.18 During the ongoing litigation in

Texas, AMc filed its Amended Answer and its Amended Counterclaim and Third Party



           9
               Id.
           10
                Ex. B. Stinchfield’s Affidavit ¶ 8.
           11
           See NRA’s First Amended complaint ¶¶ 29-31. National Rifle Association v. Ackerman McQueen, Inc. et,
al., Case No. 3:19-cv-02074-G.
           12
                Id. See also Stinchfield’s Affidavit ¶ 8.
           13
                Stinchfield’s Affidavit ¶ 8.
           14
                Id.
           15
              Id. See also NRA’s First Amended complaint ¶¶ 29-31. National Rifle Association v. Ackerman McQueen,
Inc. et, al., Case No. 3:19-cv-02074-G.
           16
                Id. at ¶¶ 45-46. National Rifle Association v. Ackerman McQueen, Inc. et, al., Case No. 3:19-cv-02074-G.
           17
                Id.
           18
           National Rifle Association v. Ackerman McQueen, Inc. et, al., Case No. 3:19-cv-02074-G and National
Rifle Association of America v. Ackerman McQueen, Inc., et al., Case Nos. CL19002067, CL19001757, and
CL19002886.



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Complaint.19 In its pleading, AMc claims that it had serious doubts about the NRA’s direction

under LaPierre’s leadership.20 It further claims that the Carry Guard program was mismanaged by

the NRA and that AMc did not want to be part of a “scheme.” 21

        To counter these false allegations, Stinchfield wrote an affidavit, which he supplied to the

NRA that explained what he observed while working at AMc.22 The affidavit was served in

discovery with the NRA’s Second Set of Request for Admissions on December 12, 2019.23 “I have

glimpsed at PowerPoint presentations, digital dashboards, and other "metrics" which I understand

were presented by Ackerman executives to describe the performance and viewership of NRA

TV,”24 wrote Stinchfield. “I came to understand that these figures were being developed by

Ackerman for consumption by NRA leadership.25 I believe these metrics were distorted and did

not tell the whole story of how few actual live viewers we had.”26 He further states, “I have

reviewed the allegations in this case and find many made by Ackerman to be disingenuous.27 For

example, Ackerman now disparages Carry Guard and School Shield.28 Ackerman was an

enthusiastic proponent of both programs. In fact, I was encouraged by Ackerman to actively

promote both programs.”29


        19
           Ex C. AMc’s Amended Answer and Amended Counterclaim and Third-party Complaint. National Rifle
Association v. Ackerman McQueen, Inc. et, al., Case No. 3:19-cv-02074-G.
        20
             Id at ¶¶ 44-45 page 91.
        21
             Id.
        22
             See Stinchfield’s Affidavit.
        23
              Ex. D. NRA’s Second Set of Requests for Admissions. National Rifle Association v. Ackerman McQueen,
Inc. et, al., Case No. 3:19-cv-02074-G.
        24
             Stinchfield’s Affidavit ¶ 8.
        25
             Id.
        26
             Id.
        27
             Stinchfield’s Affidavit ¶ 9.
        28
             Id.
        29
             Id.

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        About a week after the NRA served AMc with its Second Set of Requests for Admissions

along with Stinchfield’s affidavit, the Daily Beast published an article about Stinchfield’s affidavit

and the highly-publicized lawsuit between the NRA and AMc.30 Stinchfield’s affidavit offended

AMc, and in retaliation, AMc sued Stinchfield for defamation and business disparagement.

                                               IV.ARGUMENT

        AMc contends in its original complaint that “the impetus for Defendant’s statement in this

regard is a pleading filed by AMc in a separate lawsuit involving the NRA, LaPierre, AMc, and

others.”31 AMc, by its own admission, initiated this lawsuit against Stinchfield because

Stinchfield’s affidavit was written on behalf of the NRA in response to claims AMc made in its

pleading. As a result, AMc admits that its filing is an attack on Stinchfield’s affidavit. AMc’s

claims against Stinchfield should be barred by litigation privilege as a matter of law and as a matter

of public policy. Therefore, AMc’s claims should be dismissed with prejudice

        1.         As a matter of law, AMc’s claims should be barred by ligation privilege.

        Any communication, oral or written, uttered or published in the due course of a judicial

proceeding is absolutely privileged and cannot constitute the basis of a civil action in damages

for slander or libel.32

        Stinchfield wrote his affidavit on behalf of the NRA in a pending litigation against AMc.

Because AMc disliked what Stinchfield stated in his affidavit, AMc filed this lawsuit against

Stinchfield ignoring the protections offered to witnesses during litigation. Stinchfield’s statements

were not only made during a lawsuit but they were made in a sworn affidavit, which is protected



        30
           Ex. E. Julia Arciga, NRA TV Wanted to Become a 24/7 Newsroom Using NRA Funds: Ex-Host, Daily
Beast, December 18, 2019.
        31
             See ECF 1 AMc’s original complaint against Stinchfield filed December 20, 2019, ¶32.
        32
             Reagan v. Guardian Life Ins. Co., S.W.2d 909, 912 (Tex.1942).

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by the litigation privilege. As a matter of law, AMc’s claims should be barred by litigation privilege

and dismissed with prejudice.

       2.         As a matter of public policy, AMc’s claims should be barred by litigation
                  privilege.

       Because defamation and business disparagement are state law claims as well as the

defenses that counter it, courts look to the Texas Supreme Court for guidance. The Texas Supreme

court has held that “the litigation privilege is one of public policy “founded on the theory that the

good it accomplishes in protecting the rights of the general public outweighs any wrong or injury

which may result to a particular individual.”33 The absolute privilege for judicial proceedings is

also based on a public policy that “the administration of justice requires full disclosure from

witnesses, unhampered by fear of retaliatory suits for defamation.”34

       As a matter of public policy this court should continue to protect the voices of those who

speak out—like Stinchfield—against the wrongdoers without having to face legal ramifications.

Going against public policy would only create a precedent that would hamper the litigation process

and prevent attorneys from getting witnesses to come forward and speak their truth. The court

should not veer off from the consistency that it has maintained in advocating for witnesses and

their protection. Therefore, AMc’s claims should be barred by litigation privilege as a matter of

public policy and dismissed with prejudice.

                                            V.CONCLUSION

       As a matter of law and public policy, litigation privilege has offered protections for

witnesses to come forward without the fear of becoming a victim of a grueling scary litigation




       33
            See James v. Brown, 637 S.W.2d 914, 917–18 (Tex.1982).
       34
            Id.

                                                      6
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process like Stinchfield has encountered here. The court cannot allow AMc to set a precedent that

will put fear in witnesses to come forward and voice their truth.

       Stinchfield did exactly what Courts across this nation want them to do: speak up and point

out wrongdoings. But by speaking up, Stinchfield fell victim to a vile and vengeful lawsuit. And

as stated explicitly above, Stinchfield should not be punished for his statements in his affidavit

because AMc was unhappy with what was said during a highly-publicized litigation.

       Case law clearly lays out that witnesses’ statements in an affidavit during a pending

litigation are protected by litigation privilege. Therefore, this court should continue its stance on

protecting witnesses and their voices, dismiss AMc’s claims against Stinchfield with prejudice,

and award Stinchfield all the appropriate remedies.


September 14, 2020                            Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was electronically

served via the Court’s electronic case filing system upon all counsel of record on this 14th day of

September 2020.




                                                     _/s/Ian Shaw___
                                                       Ian Shaw




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